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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Lexington)

 BLISS COLLECTION, LLC,                              )
                                                     )
        Plaintiff,                                   )         Civil Action No. 5:20-CV-217-CHB
                                                     )
 v.                                                  )
                                                     )
 LATHAM COMPANIES, LLC,                              )          ORDER FOR MEETING AND
                                                     )                 REPORT
        Defendant.                                   )

                                       ***    ***        ***    ***
               Pursuant to Federal Rules of Civil Procedure 16 and 26, the Court ORDERS:

  1. The parties shall meet within twenty-one (21) days from the date of service of this

      Order, pursuant to Federal Rule of Civil Procedure 26(f), either in person or by

      telephone, to discuss the nature and basis of their claims and defenses and the

      possibilities for a prompt settlement or resolution of the case, to make or arrange for the

      disclosures required by Federal Rule of Civil Procedure 26(a) and to develop a proposed

      discovery plan in order to file a joint status report, as set forth in detail in paragraph (2)

      below.

  2. Within fourteen (14) days after the Rule 26(f) conference of the parties, counsel for the

      parties shall file a written joint report outlining the proposed discovery plan and

      informing the Court whether prompt settlement of the case is possible. The report shall

      advise the Court as to the following:

          (a) the names of the attorneys participating in the Rule 26(f) conference and the date

               of the conference;

          (b) a brief description of the facts and issues in the case;

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        (c) the discovery plan stating the parties’ views and proposals on each of the items set

           forth in Federal Rule of Civil Procedure 26(f)(3), including, if applicable, the

           discovery of electronically stored information, and the form in which

           electronically stored information will be produced (i.e., native format, PDF,

           paper, etc.), whether to, at least initially, limit discovery of electronically stored

           information to particular sources or custodians, and whether to limit computer

           searches to agreed search terms or methods;

        (d) the date the parties will complete (or have already completed) the initial

           disclosures required by Rule 26(a)(1);

        (e) a proposed discovery plan that includes:

               (i) a description of the subjects that require discovery;

               (ii) dates for commencing and completing both fact and expert discovery;

               (iii) any perceived issues regarding the maximum allowable number of

                   interrogatories, requests for admission, and/or depositions;

               (iv) dates for exchanging reports of expert witnesses;

               (v) dates for supplementations under Rule 26(e);

        (f) dates for the plaintiff to amend pleadings or to join parties;

        (g) dates for the defendant to amend pleadings or to join parties;

        (h) dates to file dispositive motions;

        (i) the parties’ estimate of the time necessary to file pretrial motions and materials,

           including Rule 26(a)(3) witness lists, designations of witnesses whose testimony

           will be presented by deposition, and exhibit lists;

        (j) final dates to file objections under Rule 26(a)(3);



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         (k) the parties’ belief as to whether the matter is suitable for some form of alternative

             dispute resolution such as mediation or a settlement conference;

         (l) the parties’ estimate as to the probable length of trial;

         (m) the dates mutually convenient with counsel to assign this case for trial;

         (n) whether the parties desire a scheduling conference before entry of a scheduling

             order (such scheduling conference may be held by a Magistrate Judge); and

         (o) whether the parties consent to the jurisdiction of a Magistrate Judge in the matter

             for all further proceedings, including trial, pursuant to 28 U.S.C. § 636(c).

             Consent forms are attached to this order and forms signed by all parties’ counsel

             should be filed by no later than the date counsels’ joint status report is due. If all

             parties, by counsel, so consent, the Clerk of Court shall re-assign this matter to the

             appropriate Magistrate Judge without the necessity of further order of the Court.

             L.R. 73.1(c).

  3. Any party required to file a disclosure statement pursuant to Federal Rule of Civil

     Procedure 7.1 that has not already done so, shall file a Rule 7.1 disclosure statement at

     the time of the parties’ joint status report.

     This the 14th day of April, 2021.




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